
650 S.E.2d 601 (2007)
In re ESTATE OF Daniel RAND. appealed by Petitioner.
No. 314P07.
Supreme Court of North Carolina.
August 23, 2007.
Jimmy F. Gaylor, Jacksonville, for Melanie Shepard.
Thomas J. White, III, Kinston, for Linda Rand.
Prior report: ___ N.C.App. ___, 645 S.E.2d 174.

ORDER
Upon consideration of the petition filed on the 9th day of July 2007 by Petitioner (Melanie Shepard) this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
